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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA


In Re:                                               Case No.: 17-30112
                                                     Chapter 11
Vanity Shop of Grand Forks, Inc.,

                     Debtor.


 DISCLOSURE STATEMENT WITH RESPECT TO CHAPTER 11 PLAN OF LIQUIDATION
                 OF VANITY SHOP OF GRAND FORKS, INC.
                         DATED APRIL 9, 2018


                                          DISCLAIMER

THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT RELATES TO THE
CHAPTER 11 PLAN OF LIQUIDATION OF VANITY SHOP OF GRAND FORKS, INC., AND IS
INCLUDED HEREIN FOR PURPOSES OF SOLICITING ACCEPTANCES OF THE PLAN AND
MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW TO
VOTE ON THE PLAN. NO PERSON MAY GIVE ANY INFORMATION OR MAKE ANY
REPRESENTATIONS, OTHER THAN THE INFORMATION AND REPRESENTATIONS
CONTAINED IN THIS DISCLOSURE STATEMENT, REGARDING THE PLAN OR THE
SOLICITATION OF ACCEPTANCES OF THE PLAN.

ALL CREDITORS ARE ADVISED AND ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN. PLAN SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE
STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN, OTHER
EXHIBITS ANNEXED OR REFERRED TO IN THE PLAN, AND THIS DISCLOSURE
STATEMENT. THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
MADE ONLY AS OF THE DATE HEREOF, AND THERE CAN BE NO ASSURANCE THAT THE
STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER THE DATE
HEREOF.

THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH SECTION
1125 OF THE BANKRUPTCY CODE AND RULE 3016(C) OF THE FEDERAL RULES OF
BANKRUPTCY PROCEDURE AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL
OR STATE SECURITIES LAWS OR OTHER LAWS GOVERNING DISCLOSURE OUTSIDE THE
CONTEXT OF CHAPTER 11.

AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER ACTIONS OR
THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT CONSTITUTE OR BE
CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY, STIPULATION, OR WAIVER,
BUT RATHER AS A STATEMENT MADE IN SETTLEMENT NEGOTIATIONS. THIS
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DISCLOSURE STATEMENT SHALL NOT BE ADMISSIBLE IN ANY NON-BANKRUPTCY
PROCEEDING NOR SHALL IT BE CONSTRUED TO BE CONCLUSIVE ADVICE ON THE TAX,
SECURITIES, OR OTHER LEGAL EFFECTS OF THE PLAN AS TO HOLDERS OF CLAIMS
AGAINST, OR EQUITY INTERESTS IN, THE DEBTOR.

THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN PROVISIONS OF THE PLAN,
STATUTORY PROVISIONS, DOCUMENTS RELATED TO THE PLAN, EVENTS IN THE
CHAPTER 11 CASE OF THE DEBTOR, AND FINANCIAL INFORMATION. THE DEBTOR IS
SOLELY RESPONSIBLE FOR ALL STATEMENTS IN THIS DISCLOSURE STATEMENT. THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS BEEN PROVIDED BY
THE DEBTOR UNLESS OTHERWISE NOTED. ALTHOUGH THE DEBTOR BELIEVES THAT
THE PLAN AND RELATED DOCUMENT SUMMARIES ARE FAIR AND ACCURATE, SUCH
INFORMATION IS QUALIFIED TO THE EXTENT THAT IT DOES NOT SET FORTH THE
ENTIRE TEXT OF THE PLAN, SUCH DOCUMENTS OR ANY STATUTORY PROVISIONS THAT
MAY BE REFERENCED THEREIN. THE DEBTOR BELIEVES THAT THE INFORMATION
CONTAINED HEREIN IS CORRECT, BUT MAKES NO REPRESENTATION WITH RESPECT TO
ITS ACCURACY OR COMPLETENESS.

1.     INTRODUCTION

       1.1    Purpose of Disclosure Statement.

       Vanity Shop of Grand Forks, Inc. (“Debtor”) provides this Disclosure Statement (the
“Disclosure Statement”) to the Office of the United States Trustee and to all of the Debtor’s known
Claimholders and Interestholders pursuant to section 1125(b) of Title 11 of the United States Code
(the “Bankruptcy Code”) for the purpose of soliciting acceptances of the Chapter 11 Plan of
Liquidation of Vanity Shop of Grand Forks, Inc. (the “Plan”), which has been filed with the United
States Bankruptcy Court for the District of North Dakota (the “Bankruptcy Court”). By Order
dated April 11, 2018, the Disclosure Statement was approved by the Bankruptcy Court as
containing “adequate information” under section 1125 of the Bankruptcy Code.

       The Debtor strongly urges you to read this Disclosure Statement because it contains a
summary of the Plan and important information concerning the Debtor’s history and operations. The
Disclosure Statement also provides information as to alternatives to the Plan. A copy of the Plan
accompanies this Disclosure Statement as a separate document.

     PLEASE NOTE THAT MUCH OF THE INFORMATION CONTAINED HEREIN HAS
BEEN TAKEN, IN WHOLE OR IN PART, FROM INFORMATION CONTAINED IN THE
DEBTOR’S BOOKS AND RECORDS AND FROM MOTIONS AND OTHER PAPERS FILED
WITH THE BANKRUPTCY COURT BY THE DEBTOR AND OTHER PARTIES-IN-
INTEREST. ALTHOUGH THE DEBTOR HAS ATTEMPTED TO BE ACCURATE IN ALL
MATERIAL RESPECTS, IT IS UNABLE TO WARRANT OR REPRESENT THAT ALL OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS WITHOUT ERROR.

       Unless otherwise defined herein, capitalized terms contained in this Disclosure Statement shall
have the same meanings as ascribed to them in the Plan. All capitalized terms used in this Disclosure
Statement and not defined herein or in the Plan, but that are defined in the Bankruptcy Code, shall


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have the respective meanings ascribed to them in the Bankruptcy Code. All capitalized terms used in
this Disclosure Statement and not defined herein, in the Plan or in the Bankruptcy Code, but that
are defined in the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules” or
“Bankruptcy Rule”), shall have the respective meanings ascribed to them in the Bankruptcy
Rules. Holders of Claims or Interests receiving this Disclosure Statement should carefully review the
Plan in conjunction with their review of this Disclosure Statement.

              PLEASE REVIEW THE PLAN IN ITS ENTIRETY IN DETAIL.

NO REPRESENTATION CONCERNING THE DEBTOR OR THE VALUE OF ITS ASSETS
HAS BEEN AUTHORIZED BY THE BANKRUPTCY COURT OTHER THAN AS SET
FORTH IN THIS DISCLOSURE STATEMENT OR ANY OTHER DISCLOSURE
STATEMENT APPROVED BY THE BANKRUPTCY COURT. THE DEBTOR IS NOT
RESPONSIBLE FOR ANY INFORMATION, REPRESENTATION OR INDUCEMENT
MADE TO OBTAIN YOUR ACCEPTANCE, WHICH IS OTHER THAN, OR
INCONSISTENT WITH, INFORMATION CONTAINED HEREIN AND IN THE PLAN.

        The purpose of this Disclosure Statement is to provide Claimholders and Interestholders, to the
extent they are entitled to vote, with information determined by the Bankruptcy Court to be adequate
to enable them to make an informed decision to vote to accept or reject the Plan.

       1.2    Brief Summary of the Plan

        As described in more detail in this Disclosure Statement, during the course of the Debtor’s
 bankruptcy case, the Debtor sold substantially all of its remaining E s t a t e Assets, which included
 the Debtor’s intellectual property and related assets and remaining inventory. The net proceeds
 received by the Debtor upon the sale of substantially all of its remaining E s t a t e Assets were
 used to indefeasibly pay Wells Fargo Bank, NA (first position secured creditor) in full. The
 remaining proceeds of the sales of the Debtor’s Revested Assets and the collection and liquidation of
 remaining Re ve s t e d Assets of the Debtor will be used to make payments to holders of Allowed
 Claims in the order of priority under section 507 of the Bankruptcy Code, including Allowed
 Administrative Claims (including Professional Fee Claims and Priority Tax Claims), Allowed Claims
 in Class 2 (i.e., 50% of the Face Value as settlement in full of the Class 2 Allowed Claims) and Pro
 Rata Distributions to Allowed Claims in Class 3 and Class 4.

       1.3    Confirmation of Plan.

               1.3.1 Requirements. The requirements for Confirmation of the Plan are set forth in
detail in section 1129 of the Bankruptcy Code. The following summarizes some of the pertinent
requirements:

                       (a)     Acceptance by Impaired Classes. Except to the extent that the cramdown
provisions of section 1129(b) of the Bankruptcy Code may be invoked, each Class of Claims must either
vote to accept the Plan or be deemed to accept the Plan because the Claims or Interests of such Class are
not Impaired.




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                     (b)     Feasibility. The Bankruptcy Court is required to find that the Plan is
likely to be implemented and that parties required to perform or pay monies under the Plan will be able
to do so.

                        (c)     “Best Interest” Test. The Bankruptcy Court must find that the Plan is in
the “best interest” of all Claimholders. To satisfy this requirement, the Bankruptcy Court must determine
that each holder of a Claim against the Debtor: (i) has accepted the Plan; or (ii) will receive or retain
under the Plan money or other property which, as of the Effective Date, has a value not less than the
amount such holder would receive if the Debtor’s property was liquidated under Chapter 7 of the
Bankruptcy Code on such date.

                       (d)     “Cramdown” Provisions. Under the circumstances which are set forth in
detail in section 1129(b) of the Bankruptcy Code, the Bankruptcy Court may confirm the Plan even
though a Class of Claims or Interests has not accepted the Plan, so long as one Impaired Class of Claims
has accepted the Plan, excluding the votes of Statutory Insiders (as defined in the Bankruptcy Code), if
the Plan is fair and equitable and does not discriminate unfairly against such non-accepting Classes. The
Debtor will invoke the “cramdown” provisions of section 1129(b) of the Bankruptcy Code as to holders
of Equity Interests since under the Plan, the Class in which Equity Interests reside are deemed to have
rejected the Plan. Should any voting Class fail to accept the Plan, the Debtor will also invoke the
“cramdown” provision as to such Class.

             1.3.2 Procedure. To confirm the Plan, the Bankruptcy Court must hold a hearing to
determine whether the Plan meets the requirements of section 1129 of the Bankruptcy Code (the
“Confirmation Hearing”). The Bankruptcy Court has set May 22, 2018 at 9:30 a.m. CST, for the
Confirmation Hearing.

               1.3.3 Objection to Confirmation. Any party-in-interest may object to Confirmation of
the Plan and appear at the Confirmation Hearing to pursue such objection. The Bankruptcy Court has set
May 14, 2018 at 4:00 p.m. CST, as the deadline for filing and serving upon Debtor’s counsel, the
United States Trustee’s Office, and counsel to the Creditors’ Committee objections to Confirmation of
the Plan. Objections to Confirmation must be filed with the Bankruptcy Court at the following address:

       U.S. Bankruptcy Court for the District of North Dakota
       655 1st Avenue North, #210
       Fargo, ND 58102

with a copy served upon counsel to the Debtor:

       Jon R. Brakke
       Caren W. Stanley
       Vogel Law Firm
       218 NP Avenue
       PO Box 1389
       Fargo, ND 58107-1389

and a copy served upon the Office of the United States Trustee:

       United States Trustee


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       Suite 1015 U.S. Courthouse
       300 South Fourth Street
       Minneapolis, MN 55415

and a copy served upon counsel to the Creditors’ Committee:

       Mette Kurth
       Fox Rothschild LLP
       1800 Century Park East
       Suite 300
       Los Angeles, CA 90067-1506


               1.3.4 Effect of Confirmation. Except as otherwise provided in the Plan or in the
Confirmation Order, upon the Effective Date, all right, title, and interest of the Debtor and the Estate
in and to all Revested Assets shall irrevocably vest in the Liquidating Debtor for purposes of
administration of the Plan by the Plan Administrator. The Plan provides for the wind down of the
Debtor’s affairs, continued liquidation and conversion of all of the Debtor’s remaining assets to cash
and the distribution of the net proceeds realized therefrom, in addition to c ash on hand on the
Effective Date of the Plan, to creditors holding Allowed Claims as of the Record Date in accordance
with the relative priorities established in the Bankruptcy Code. The Plan does not provide for a
distribution to holders of Equity Interests, and their votes are not being solicited. The Plan
contemplates the appointment of a Plan Administrator to, among other things, finalize the wind
down of the Debtor’s affairs, resolve Disputed Claims, pursue any unreleased Causes of Action,
Avoidance Actions and Preserved Claims, implement the terms of the Plan and make
Distributions to holders of Allowed Claims. Confirmation serves to make the Plan binding upon the
Debtor, all Creditors, Interestholders and other parties-in-interest, regardless of whether they cast a
ballot (“Ballot”) to accept or reject the Plan.

       1.4    Voting on the Plan.

               1.4.1 Impaired Claims or Equity Interest. Pursuant to section 1126 of the Bankruptcy
Code, only the holders of Claims in Classes “Impaired” by the Plan and receiving distributions or other
treatment under the Plan may vote on the Plan. Pursuant to section 1124 of the Bankruptcy Code, a
Class of Claims may be “Impaired” if the Plan alters the legal, equitable or contractual rights of the
holders of such Claims or Equity Interests treated in such Class. Claimholders not Impaired by the Plan
are deemed to accept the Plan and do not have the right to vote on the Plan.

The Claimholders in any Class that will not receive any payment or distribution or retain any
property pursuant to the Plan are deemed to reject the Plan and do not have the right to vote.

                1.4.2 Eligibility. In order to vote on the Plan, a Claimholders must have timely filed or
been assigned a timely filed proof of Claim, unless its Claim is scheduled by the Debtor and is not
identified as disputed, unliquidated or contingent on the Debtor’s Schedules of Assets and Liabilities
(the “Schedules”). Claimholders having a Claim in more than one Class may vote in each Class in
which they hold a separate Claim by casting a Ballot in each Class.



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               1.4.3 Binding Effect. Whether a Claimholder votes on the Plan or not, such Person will
be bound by the terms of the Plan if the Plan is confirmed by the Bankruptcy Court. Absent some
affirmative act constituting a vote, a Claimholder will not be included in the vote: (i) for purposes of
accepting or rejecting the Plan; or (ii) for purposes of determining the number of Persons voting on the
Plan.

                1.4.4 Procedure. Members of Classes 2, 3, and 4 may vote to accept or reject the Plan.
Class 1 is not Impaired by the Plan and is deemed, therefore, to accept the Plan. Class 5 is Impaired by
the Plan and is deemed to have rejected the Plan because the Equity Interests in Class 5 will receive no
distributions under the Plan. In order for your vote to count, you must complete, date, sign and properly
mail the enclosed Ballot (please note that envelopes have been included with the Ballot) to:

               Vanity Shop Ballot Processing Center
               C/O KCC
               2335 Alaska Ave.
               El Segundo, CA 90245

       Pursuant to Bankruptcy Rule 3017, the Bankruptcy Court has ordered that original Ballots for the
acceptance or rejection of the Plan must be received by mail or overnight delivery by Kurtzman Carson
Consultants (the “Balloting Agent”) at the address set forth above on or before 4:00 p.m. CST on May
14, 2018 (the “Voting Deadline”). Once you have delivered your Ballot, you may not change your vote,
except for cause shown to the Bankruptcy Court after notice and hearing.

       The following types of Ballots will not be counted in determining whether the Plan has been
accepted or rejected:

                      (i)      any Ballot received after the Voting Deadline;

                        (ii)   any Ballot that is illegible or contains insufficient information to permit
the identification of the claimant;

                         (iii) any Ballot cast by a person or entity that does not hold a Claim in a class
that is entitled to vote to accept or reject the Plan;

                       (iv)   any Ballot cast for a Claim identified in the Schedules as unliquidated,
contingent, or disputed for which no proof of claim was timely filed;

                      (v)   any Ballot cast for a Claim for which an objection or request for
estimation has been filed on or before the Solicitation Date as set forth in the Order approving the
Disclosure Statement;

                      (vi)     any unsigned Ballot or Ballot that does not contain an original signature;

                        (vii) any Ballot transmitted to the Balloting Agent by facsimile or other means
not specifically approved in the Order approving the Disclosure Statement; any Ballot that is otherwise
properly completed, executed, and timely returned, but does not indicate a vote to accept or reject the
Plan or that indicates a vote to both accept and reject the Plan.



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The following types of Ballots will be counted in determining whether the Plan has been accepted or
rejected: whenever a creditor casts more than one Ballot voting the same Claim(s) before the Voting
Deadline, the last Ballot received before the Voting Deadline shall be deemed to reflect the voter’s
intent, and thus, to supersede any prior Ballots.

       1.5    Acceptance of the Plan.

               1.5.1 Claimholder Acceptance. As a Claimholder, your acceptance of the Plan is
important. In order for the Plan to be accepted by an Impaired Class of Claims, a majority in number and
two-thirds in dollar amount of the Claims voting (of each Impaired Class of Claims) must vote to accept
the Plan, or the Plan must qualify for “cramdown” of any non-accepting Class pursuant to section
1129(b) of the Bankruptcy Code. At least one impaired Class of Creditors, excluding the votes of
Statutory Insiders, must actually vote to accept the Plan. You are urged to complete, date, sign and
promptly mail the enclosed Ballot. Please be sure to complete the Ballot properly and legibly identify
the exact amount of your Claim and the name of the Claimholder.

               1.5.2 Cramdown Election. If all Classes do not accept the Plan, but at least one
Impaired Class votes to accept the Plan, excluding the votes of Statutory Insiders, the Debtor may
attempt to invoke the “cramdown” provisions of the Bankruptcy Code. Cramdown may be an available
remedy, because the Debtor believes that, with respect to each Impaired Class, the Plan is fair and
equitable within the meaning of section 1129(b)(2) of the Bankruptcy Code and does not discriminate
unfairly.

       1.6     Sources of Information. The information contained in this Disclosure Statement has
been obtained from the Debtor’s books and records and from motions and other papers filed with the
Bankruptcy Court by the Debtor and other parties-in-interest. Every reasonable effort has been made to
present accurate information and such information is believed to be correct as of the date hereof. Any
value given as to the Estate Assets of the Debtor is based upon an estimation of such value. You are
strongly urged to consult with your financial and legal advisors to understand fully the Plan and
Disclosure Statement.

       The financial information contained in this Disclosure Statement is given as of the date
hereof, unless otherwise specified. The delivery of this Disclosure Statement does not, under any
circumstance, imply that there has been no change in the facts set forth herein since such date. This
Disclosure Statement is intended, among other things, to summarize the Plan and must be read in
conjunction with the Plan and its exhibits. If any conflicts exist between the Plan and Disclosure
Statement, the terms of the Plan shall control.

       1.7    Additional Information.

        Should you have any questions regarding the Plan or this Disclosure Statement, or require
clarification of any information presented herein, please contact:

       Jon R. Brakke
       Caren W. Stanley
       218 NP Avenue
       PO Box 1389
       Fargo, ND 58107-1389

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       701.237.6389
       jbrakke@vogellaw.com
       cstanley@vogellaw.com


2.     THE DEBTOR

       2.1    Description of the Debtor.

       On March 1, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for relief under
Chapter 11 of the Bankruptcy Code in the Bankruptcy Court. The Debtor is authorized to operate its
business and manage its properties as a debtor-in-possession pursuant to sections 1107(a) and 1108 of
the Bankruptcy Code.

        Founded in 1966, Debtor is a North Dakota corporation headquartered in Fargo, North Dakota.
Debtor opened its doors in 1969 and operated as a regional specialty retailer of casual apparel and
accessories for fashion-conscious young women. Debtor owned and sold its own line of private-label
goods, including private-label branded denim in approximately 137 mall-based stores spanning
27 states. Debtor’s fashions were also available through www.vanity.com, which was launched in 2008.
Debtor sourced reasonably priced fashion apparel and accessories from U.S.-based suppliers and
overseas manufacturers. At least 60% of Debtor’s inventory originated with U.S. suppliers. Ecommerce
products were distributed from a building located one mile from Debtor’s headquarters. Debtor
employed 274 full-time and 1,049 part-time employees as of the Petition Date. Debtor’s total sales in the
year ending December 2016 were approximately $80 million.

       2.2    The Debtor’s Operations and Financial Difficulties.

               2.2.1 Corporate Structure. Shazzam! Inc., Debtor’s parent holding company, owns
100% of Debtor’s stock. Shazzam! Inc.’s only asset is Debtor’s stock. The ownership of Shazzam!, Inc.
is as follows:

              47.385% Teresa Bottrell
              14.184% James Bennett
              14.184% Marnie Kimbrough
              11.25% C. Anderson-Bottrell
              8.001% Lowell Bottrell
              3.745% Stephen J. Anderson
              1.251% Stephen J. Anderson IRA

All administrative and management services for the Debtor including human resources administration,
accounting/bookkeeping, marketing, IT support, product sourcing and design, training of store
employees, etc. were provided by Vanity, Inc., a North Dakota corporation formed in 1997. Vanity, Inc.
had 88 full-time and 16 part-time employees as of the Petition Date.

              2.2.2   The Debtor’s Debt Structure.

       As of the Petition Date, Debtor had secured obligations owing to Wells Fargo Bank, N.A.
(“Wells Fargo”) in the aggregate principal amount of approximately $4,307,869 plus accrued and


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unpaid interest with respect thererto, fees, costs, and other expenses. The Debtor had granted security
interests in, and liens on, all or substantially all of its assets to secure its obligations to Wells Fargo.

       Additionally, TGC, L.P. (“TGC, LP”), a Montana limited partnership, which has common
ownership with the owners identified above of Shazzam!, Inc. (i.e., Teresa Bottrell, James Bennett, and
Marnie Kimbrough), had loaned approximately $5,000,000 to Debtor since 2013 to allow the Debtor to
continue operating. Debtor initially Scheduled the claim of TGC, LP as secured. However, TGC, LP has
acknowledged its claim is unsecured due to the filing of its UCC-1 financing statement within the 90-
days before the Petition Date. TGC, LP has filed an unsecured claim in the sum of $5,248,774 (proof of
claim # 281).

               2.2.3   Events Leading to the Filing.

        The Debtor incurred operational losses stemming from, among other things, expensive lease
obligations, underperforming retail locations, and increased competition in the women’s fashion retail
industry on a broad scale. Moreover, the continued growth of online competitors and decline in mall
traffic has consistently challenged the Debtor’s ability to operate on a sustained profitable basis. The
Debtor, after consultation with key constituents, determined that commencing store closing sales and
liquidating all assets provided the best opportunity to maximize value of the Debtor’s Estate for the
benefit of its creditors and all interested parties.

       2.3     The Debtor’s Bankruptcy Proceedings.

               2.3.1 Employment of Professionals. The Debtor requested and obtained the authority
to employ the following professionals: i) Vogel Law Firm as attorneys for Debtor; (ii) Eide Bailly, LLP
as accountant; (iii) Brady Martz and Associates, P.C. as accountant; (iv) Jill Motschenbacher,
accountant; (v) Hilco IP Services d/b/a Hilco Streambank as Intellectual Property Disposition
Consultant; (vi) Diamond B Technology Solutions, LLC as IT Consultant; (vii) Eide Bailly, LLP as
Auditor for ERISA Plan; (viii) Bell Bank as Designated Trustee for ERISA Plan.

               2.3.2 Debtor’s Use of Cash Collateral. As part of the First Day Motions, Debtor and
Wells Fargo entered into a stipulation governing the consensual use of cash collateral on a postpetition
basis to allow the Debtor to conduct store closing sales. The Bankruptcy Court approved the stipulation
allowing the Debtor to use cash collateral and Wells Fargo was paid off within the first three weeks of
the Debtor’s bankruptcy case. TGC, LP consented to the use of cash collateral without restriction.

               2.3.3 The Creditors’ Committee. On March 10, 2017, the Office of the United States
Trustee appointed an official committee of the Debtor’s unsecured creditors (the “Creditors’
Committee”) pursuant to section 1102(a) of the Bankruptcy Code. The Creditors’ Committee consists of
five of the Debtor’s largest unsecured creditors: Washington Prime Group, Inc., GGP Limited
Partnership, Simon Property Group, Inc., Cavalini, Inc. and Anfield Apparel Group, Inc.

     The Creditors’ Committee retained Fox Rothschild, LLP as lead counsel, and BGA
Management, LLC d/b/a Alliance Management, Inc. as Financial Advisor.

                2.3.4 The Sale of Substantially All of the Remaining Estate Assets. The Debtor
determined the best method to realize value for the Estate was to conduct store closing sales at all of its
locations and liquidate its remaining inventory and fixtures on an expedited basis.


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        On March 23, 2017, the Bankruptcy Court entered the Final Order: (I) Authorizing the Debtor to
Assume the Consulting Agreement, (II) Authorizing and Approving the Conduct of Store Closing Sales,
with Such Sales to be Free and Clear of All Liens, Claims and Encumbrances, and Granting Related
Relief (the “Store Closing Order”) [Doc. 172]. Pursuant to the Store Closing Order, the Debtor retained
Tiger Capital Group, LLC to assist with conducting store closing sales at all 137 stores. By April 14,
2017, all of Debtor’s inventory and fixtures were liquidated and the stores were closed and premises
returned to the applicable landlord. Wells Fargo, the secured lender, was paid off, and the net proceeds
from the store closing sales (in excess of $7M) is available for payment of administrative expenses and
Claims.

        The Debtor also retained Hilco Streambank as its Intellectual Property Disposition Consultant to
assist with the sale of the Debtor’s intellectual property assets including domain names, trademarks, and
customer data (the “IP Assets”). An auction of the Debtor’s IP Assets was conducted on October 25,
2017 and two subsets of IP Assets were purchased at the auction by Westerdal Corp., and Vanity Brands
LLC for the total purchase prices of $340,000 and $137,500, respectively. The two sales of the Debtor’s
IP Assets closed on or about November 21, 2017.

               2.3.5 Schedules and Bar Date. On March 27, 2017, the Debtor filed its schedules of
assets and liabilities and statement of financial affairs. The Court established July 3, 2017 as the Bar
Date for prepetition creditors and governmental units to file proofs of claim.

3.     SUMMARY OF THE PLAN OF LIQUIDATION

     THIS SECTION PROVIDES A SUMMARY OF THE STRUCTURE AND MEANS FOR
IMPLEMENTING THE PLAN AND OF THE CLASSIFICATION AND TREATMENT OF CLAIMS
AND EQUITY INTERESTS UNDER THE PLAN, AND IS QUALIFIED IN ITS ENTIRETY BY
REFERENCE TO THE PLAN, WHICH ACCOMPANIES THIS DISCLOSURE STATEMENT AND
TO THE EXHIBITS ATTACHED THERETO.

     THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT INCLUDE
SUMMARIES OF THE PROVISIONS CONTAINED IN THE PLAN AND IN DOCUMENTS
REFERRED TO THEREIN. THE STATEMENTS CONTAINED IN THIS DISCLOSURE
STATEMENT DO NOT PURPORT TO BE PRECISE OR COMPLETE STATEMENTS OF ALL THE
TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO THEREIN, AND
REFERENCE IS MADE TO THE PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND
COMPLETE STATEMENTS OF SUCH TERMS AND PROVISIONS.

     THE PLAN ITSELF AND THE DOCUMENTS REFERRED TO THEREIN CONTROL THE
ACTUAL TREATMENT OF CLAIMS AGAINST AND INTERESTS IN THE DEBTOR UNDER
THE PLAN AND WILL, UPON THE EFFECTIVE DATE, BE BINDING UPON HOLDERS OF
CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTOR AND OTHER PARTIES IN
INTEREST.

       3.1    In General.

       The Plan is proposed by the Debtor. The Allowed Claims of Claimholders will be paid in
accordance with priorities set forth in the Bankruptcy Code, a structure that the Debtor believes will
produce a fundamentally equitable outcome for all creditors.

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                3.1.1 Estate Assets. On the Effective Date, the Debtor’s Estate Assets not sold pursuant
to the store closing sales or the IP Asset sales and/or not distributed pursuant to other provisions of the
Plan or Orders of the Bankruptcy Court shall be deemed Revested Assets, and administered by the Plan
Administrator pursuant to the Plan.

               3.1.2 Plan Administrator. As of the Effective Date, the Plan Administrator shall be
vested with full legal power, capacity and authority, and shall be directed to administer, collect and
liquidate the Debtor’s Revested Assets and to implement the Plan. The Plan Administrator will be Mr.
David Velde, an attorney with Velde Moore, LTD, 1118 Broadway, Alexandria, MN 56308. Mr. Velde
has served as a Chapter 7 United States Bankruptcy Trustee since 1998.

               3.1.3 Causes of Action, Preserved Claims, and Avoidance Actions. Subject to the
provisions of the Plan, the Plan Administrator may, but is not required to, pursue any Causes of Action,
Preserved Claims, and Avoidance Actions not otherwise released under the Plan, or other order of the
Bankruptcy Court by informal demand and/or by commencing litigation.

       3.2     Classification of Claims and Interests.

              3.2.1 Class 1. Class 1 consists of the Wells Fargo secured claim. Class 1 is deemed
unimpaired by the Plan.

               3.2.2 Class 2. Class 2 consists of general unsecured Claims with a Face Amount less
than $1,500.00, including unsecured creditors with claims in excess of $1,500.00 that elect to reduce
their Claim to $1,500.00 and be treated as a Class 2 creditor. Class 2 is impaired by the Plan.

              3.2.3 Class 3. Class 3 consists of general unsecured Claims that are Allowed as of the
Record Date. Class 3 is impaired by the Plan.

              3.2.4 Class 4. Class 4 consists of general unsecured Claims that are Disputed as of the
Record Date. Class 4 is impaired by the Plan.

               3.2.5   Class 5. Class 5 consists of all Equity Interests. Class 5 is impaired by the Plan.

       3.3     Treatment of Claims and Interests.

                3.3.1 Class 1 (Wells Fargo Secured Claim). Wells Fargo was indefeasibly paid in full
as of the date of the Disclosure Statement. Wells Fargo has no further Claim against the Debtor and will
not receive any Distributions under the Plan.

               3.3.2 Class 2 (Convenience – Unsecured Claims). This class shall consist of unsecured
Allowed Claims not entitled to priority where the total of the unsecured Allowed Claim does not exceed
$1,500.00. Any unsecured creditor whose claim exceeds $1,500.00 may elect by voting on the Plan to be
treated as a Class 2 Convenience Class creditor by electing to reduce their Claim to $1,500.00. The
holders of Class 2 Allowed Claims will be paid a total of 50% of their Allowed Claims as soon as
reasonably practicable after the Effective Date. Such payments shall be in full satisfaction of each Class
2 Allowed Claim. The Debtor estimates that there are approximately $105,000 in Allowed Claims in
Class 2.



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                3.3.3 Class 3 (Effective Date Unsecured Claims). Except to the extent that a holder of
a Class 3 Allowed Claim agrees to a less favorable treatment, each holder of a Class 3 Allowed Claim
shall receive its Pro Rata share of the First Interim Distribution after payment in full of (or reserve for)
Plan Administration Expenses, all Allowed Administrative Claims (including Professional Fee Claims,
Administrative Tax Claims, and Priority Tax Claims), Allowed Claims in Class 2, and the Claims
Reserve. Subsequent Distributions on Class 3 Allowed Claims shall be made as soon as reasonably
practicable after the Effective Date and after the reconciliation of all Class 4 Claims, unless the Plan
Administrator, in its sole discretion, determines that an earlier Distribution is practicable consistent with
the Plan. Such Distributions shall be in full satisfaction of each Class 3 Allowed Claim with the effective
date of the satisfaction being the Final Distribution Date. The holders of Allowed Claims in Class 3 and
Class 4 shall be paid Pro Rata based on the aggregate Face Amount of all Allowed Claims in both
classes.

                3.3.4 Class 4 (Post-Effective Date Unsecured Claims). Except to the extent that a
holder of a Class 4 Claim agrees to a less favorable treatment, each holder of a Class 4 Claim that
becomes an Allowed Claim shall receive its Pro Rata share of the Subsequent Interim Distributions after
payment in full of (or reserve for) Plan Administration Expenses, all Allowed Administrative Claims
(including Professional Fee Claims, Administrative Tax Claims, and Priority Tax Claims), Allowed
Claims in Class 2, and the First Interim Distribution on Class 3 Claims. Distributions on Class 4
Allowed Claims shall be made as soon as reasonably practicable after the Effective Date and after the
reconciliation of all Class 4 Claims, unless the Plan Administrator, in its sole discretion, determines that
an earlier Distribution is practicable consistent with the Plan. Such Distributions shall be in full
satisfaction of each Class 4 Allowed Claim with the effective date of the satisfaction being the Final
Distribution Date. The holders of Allowed Claims in Class 3 and Class 4 shall be paid Pro Rata based on
the aggregate Face Amount of all Allowed Claims in both classes. For avoidance of doubt, all Class 4
Claims are considered Disputed Claims.

               3.3.5 Class 5 (Equity Interests). The holders of Equity Interests in Class 5 shall have
their Equity Interests against the Debtor extinguished as of the Effective Date and shall receive no
Distributions under this Plan.

       3.4     Treatment of Unclassified Claims.

               3.4.1   Administrative Claims - Professional Claims.

                       (a)    Final Professional Fee Applications. All final requests for payment of
Professional Fee Claims pursuant to Bankruptcy Code sections 327, 328, 330, 331, 363, 503(b), or 1103
must be made by application filed with the Bankruptcy Court and served on counsel to the Debtor,
counsel to the Creditors’ Committee, counsel to the Plan Administrator, and the U.S. Trustee no later
than the first Business Day that is thirty (30) calendar days after the Effective Date, unless otherwise
ordered by the Bankruptcy Court (the "Administrative Claim Bar Date"). Objections to such
applications must be filed and served on counsel to the Debtor, counsel to the Creditors’ Committee,
counsel to the Plan Administrator, the U.S. Trustee, and the requesting Professional on or before the date
that is twenty-one (21) calendar days after the date on which the applicable application was served (or
such longer period as may be allowed by order of the Bankruptcy Court or by agreement with the
requesting Professional). Any Professional Fee Claim not timely filed and asserted will be forever
barred and discharged.


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                      (b)     Payment of Professional Fee Claims. All Professional Fee Claims shall
be paid by the Plan Administrator to the extent approved by order of the Bankruptcy Court within five
(5) Business Days after entry of such order.

                       (c)    Post-Effective Date Services. After the Effective Date, any requirement
that Professionals comply with sections 327 through 331 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate. The Plan Administrator shall pay any
Professionals for Post-Effective Date services requested by the Plan Administrator.

               3.4.2 Administrative Claims – Administrative Tax Claims under 503(b)(1)(B) and (C)
of the Bankruptcy Code. Allowed Administrative Claims under section 503(b)(1)(B) and (C) of the
Bankruptcy Code shall be paid in full by the Plan Administrator as soon as reasonably practicable after
the Effective Date.

              3.4.3 Priority Tax Claims. In full satisfaction, settlement, and release of and in
exchange for such Claims, Allowed Priority Tax Claims shall be paid by the Plan Administrator, at the
Plan Administrator’s option, as follows: (a) cash funds equal to the unpaid portion of the Face Amount
of such Allowed Priority Tax Claim on the later of the Effective Date or thirty (30) calendar days
following the date on which such Priority Tax Claim becomes an Allowed Priority Tax Claim; or
(b) such other treatment as to which the holder of an Allowed Priority Tax Claim and the Plan
Administrator shall have agreed upon in writing.

                3.4.4 All Other Administrative Claims. Any person or entity who requests
compensation or expense reimbursement in the Chapter 11 case pursuant to section 503 of the
Bankruptcy Code (other than Professional Fee Claims, Administrative Tax Claims and Priority Tax
Claims) must file an application with the clerk of the Bankruptcy Court and serve such application on
counsel for the Plan Administrator and the U.S. Trustee no later than the first Business Day that is thirty
(30) calendar days after the Effective Date, unless otherwise ordered by the Court (the “Administrative
Claim Deadline”), or be forever barred from seeking such compensation or expense reimbursement. For
the avoidance of doubt, Section 503(b)(9) Claims are subject to section 4.4 of the Plan. Unless the Plan
Administrator objects to an Administrative Claim, such Administrative Claim shall be deemed an
Allowed Administrative Claim in the amount requested. Objections to such applications must be filed
and served on counsel to the Plan Administrator, the U.S. Trustee, and the requesting claimant on or
before the date that is twenty-one (21) calendar days after the date on which the applicable application
was served (or such longer period as may be allowed by order of the Bankruptcy Court or by agreement
with the requesting claimant). All Allowed Administrative Claims (other than Professional Fee Claims,
Administrative Tax Claims and Priority Tax Claims) shall be paid by the Plan Administrator within
thirty (30) days of allowance by the Bankruptcy Court, unless appealed by the Plan Administrator.



       3.5     Implementation of the Plan.

              3.5.1 In General. The Plan is a liquidating plan and provides for the liquidation of the
Debtor’s Estate Assets and the payment of the proceeds generated therefrom to holders of Allowed
Claims in accordance with the priorities set forth in the Bankruptcy Code. The Plan Administrator may,
but is not required to, pursue any Causes of Action, Preserved Claims, or Avoidance Actions not


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otherwise released under the Plan, or other Order of the Bankruptcy Court by informal demand and/or
by the commencement of litigation in any court of competent jurisdiction, with the net recoveries of
such Causes of Action, Preserved Claims, or Avoidance Actions to be distributed in accordance with the
Plan.

              3.5.2 Means of Implementing the Plan. The primary means by which the Debtor will
implement the Plan is through the Plan Administrator.

               3.5.3 Transfer Taxes. Any transfer of the Debtor’s Estate Assets and pursuant to the
Plan shall constitute a “transfer under a plan” within the purview of section 1146(c) of the Bankruptcy
Code and will not be subject to transfer, stamp or similar taxes.

                 3.5.4 Estimated Plan Distribution. The Allowed Administrative Claims (including
Professional Fee Claims, Administrative Tax Claims and Priority Tax Claims) will be paid pursuant to
priorities set forth in the Bankruptcy Code from the cash funds in the Debtor in Possession account and
from the Revested Assets or Causes of Action, Preserved Claims, and Avoidance Actions. The amount
of the Plan Distributions on account of Class 3 and Class 4 cannot be determined with certainty. The
following table provides a summary of the classification and treatment of Claims and Equity Interests
and the potential distributions to Holders of Allowed Claims and Equity Interests under the Plan.

     THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND ARE SUBJECT TO CHANGE. FOR A COMPLETE DESCRIPTION
OF THE DEBTOR’S CLASSIFICATION AND TREATMENT OF CLAIMS AND EQUITY
INTERESTS, REFERENCE SHOULD BE MADE TO ARTICLES III AND V OF THE PLAN.




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                                     SUMMARY OF EXPECTED RECOVERIES1

                                                                                           Estimated Amount of
               Claim/Equity                                                                                                Projected Recovery Under
 Class                                        Treatment of Claim/Interest                    Unpaid Allowed
                 Interest                                                                                                           the Plan
                                                                                                 Claims
                                                                                                   Approximately
                                                                                           $428,000 owing but unpaid as
                                  All Professional Fee Claims shall be paid by the            of the Effective Date as    Paid in full pursuant to Plan
              Professional Fee    Plan Administrator to the extent approved by order                  follows:            unless     otherwise     paid
  N/A                                                                                       $75,000 – Vogel Law Firm
                  Claims          of the Bankruptcy Court within five (5) Business          $35,000 – Eide Bailly, LLP    pursuant to other Bankruptcy
                                  Days after entry of such order.                          $15,000 – Brady Martz, LLP     Court Order
                                                                                            $300,000 - Fox Rothschild
                                                                                            $3,000 - BGA Management
                                Allowed Administrative Tax Claims under section                                           Paid in full pursuant to Plan
             Administrative Tax 503(b)(1)(B) and (C) of the Bankruptcy Code shall                 Approximately           unless     otherwise     paid
  N/A                                                                                                  $0
                  Claim         be paid in full by the Plan Administrator as soon as                                      pursuant to sale or other
                                reasonably practicable after the Effective Date.                                          Bankruptcy Court Order
                                 In full satisfaction, settlement, and release of and in
                                 exchange for such Claims, Allowed Priority Tax
                                 Claims shall be paid by the Plan Administrator, at
                                 the Plan Administrator’s option, as follows: (a)
                                 cash funds equal to the unpaid portion of the Face                                       Paid in full pursuant to Plan
                                 Amount of such Allowed Priority Tax Claim on the                 Approximately           unless     otherwise     paid
  N/A        Priority Tax Claims                                                                    $30,000
                                 later of the Effective Date or thirty (30) calendar                                      pursuant to sale or other
                                 days following the date on which such Priority Tax                                       Bankruptcy Court Order
                                 Claim becomes an Allowed Priority Tax Claim; or
                                 (b) such other treatment as to which the holder of
                                 an Allowed Priority Tax Claim and the Plan
                                 Administrator shall have agreed upon in writing.
                                  Allowed Administrative Claims shall be paid in full                                     Paid in full pursuant to Plan
                 All Other
                                  in cash by the Plan Administrator as soon as                    Approximately           unless     otherwise     paid
  N/A          Administrative                                                                       $260,000
                                  reasonably practicable after the Effective Date                                         pursuant to sale or other
                  Claims
                                                                                                                          Bankruptcy Court Order
   1     Wells Fargo Secured Wells Fargo was paid in cash, in full, by the
                                                                                                                                        $0.00
                Claim        Debtor. Wells Fargo has no further claim against
                                                                                                     $0.00                Has already been indefeasibly
                             the Debtor and will not receive any Distributions
                                                                                                                          paid in full.
                             under the Plan.
                              Unsecured Allowed Claims not entitled to priority
                              where the total of the unsecured Allowed Claim
               Convenience    does not exceed $1,500.00. Any unsecured creditor                   Approximately
   2                                                                                                $105,000                          50%
             Unsecured Claims whose claim exceeds $1,500.00 may elect by
                              voting on the Plan to be treated as a Class 2
                              Convenience Class creditor by electing to reduce


         1
            The recoveries set forth in this table may change based upon changes in the amount of Claims that are “Allowed”
as well as other factors related to the Debtor’s business operations and general economic conditions. “Allowed” means a
Claim or any portion thereof (a) that has been allowed by a Final Order, or (b) as to which, on or by the Effective Date, (i) no
proof of claim has been filed with the Bankruptcy Court and (ii) the liquidated and noncontingent amount of which is
scheduled, other than a Claim that is scheduled in an unknown amount or as disputed, or (c) for which a proof of claim in a
liquidated amount has been timely filed with the Bankruptcy Court pursuant to the Bankruptcy Code, any Final Order of the
Bankruptcy Court or other applicable bankruptcy law, and as to which either (i) no objection to its allowance has been filed
within the periods of limitation fixed by the Plan, the Bankruptcy Code or by any order of the Bankruptcy Court or (ii) any
objection to its allowance has been settled or withdrawn, or has been denied by a Final Order, or (d) that is expressly allowed
in a liquidated amount in the Plan. The amount of an Allowed Claim shall be the lesser of the amount stated in a proof of
claim filed for such Claim (if less than the amount scheduled for such Claim), the amount agreed to in a written settlement, or
the amount allowed by a Final Order. Except for any Claim that is expressly Allowed herein, any Claim that has been or is
hereafter listed in the Schedules as contingent, unliquidated or disputed, and for which no Proof of Claim has been filed, is
not considered Allowed and shall be deemed expunged upon entry of the Confirmation Order.


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                                  their Claim to $1,500.00. The holders of Class 2
                                  Allowed Claims will be paid a total of 50% of their
                                  Allowed Claims as soon as reasonably practicable
                                  after the Effective Date. Such payments shall be in
                                  full satisfaction of each Class 2 Allowed Claim.
                              Except to the extent that a holder of a Class 3
                              Allowed Claim agrees to a less favorable treatment,
                              each holder of a Class 3 Allowed Claim shall
                              receive its Pro Rata share of the First Interim
                              Distribution after payment in full of (or reserve for)
                              Plan Administration Expenses, all Allowed
                              Administrative Claims as set forth in Article IV
                              above (including Professional Fee Claims,
                              Administrative Tax Claims, and Priority Tax
                              Claims), Allowed Claims in Class 2, and the
              Effective Date  Claims Reserve. Subsequent Distributions on Class           Approximately
   3                                                                                       $4,509,000                  31%
             Unsecured Claims 3 Allowed Claims shall be made as soon as
                              reasonably practicable after the Effective Date and
                              after the reconciliation of all Class 4 Claims, unless
                              the Plan Administrator, in its sole discretion,
                              determines that an earlier Distribution is practicable
                              consistent with the Plan. Such Distributions shall be
                              in full satisfaction of each Class 3 Allowed Claim.
                              The holders of Allowed Claims in Class 3 and
                              Class 4 shall be paid Pro Rata based on the
                              aggregate Face Amount of all Allowed Claims in
                              both classes.
                                 Except to the extent that a holder of a Class 4
                                 Claim agrees to a less favorable treatment, each
                                 holder of a Class 4 Claim that becomes an Allowed
                                 Claim shall receive its Pro Rata share of the
                                 Subsequent Interim Distributions after payment in
                                 full of (or reserve for) Plan Administration
                                 Expenses, all Allowed Administrative Claims as set
                                 forth in Article IV above (including Professional
                                 Fee Claims, Administrative Tax Claims, and
                                 Priority Tax Claims), Allowed Claims in Class 2,
                                 and the First Interim Distribution on Class 3
             Post-Effective Date Claims. Distributions on Class 4 Allowed Claims          Approximately
   4                                                                                      $21,000,0002                 31%
             Unsecured Claims shall be made as soon as reasonably practicable
                                 after the Effective Date and after the reconciliation
                                 of all Class 4 Claims, unless the Plan
                                 Administrator, in its sole discretion, determines that
                                 an earlier Distribution is practicable consistent with
                                 the Plan. Such Distributions shall be in full
                                 satisfaction of each Class 4 Allowed Claim. The
                                 holders of Allowed Claims in Class 3 and Class 4
                                 shall be paid Pro Rata based on the aggregate Face
                                 Amount of all Allowed Claims in both classes. For
                                 avoidance of doubt, all Class 4 Claims are
                                 considered Disputed Claims.
                                  The holders of Equity Interests in Class 5 shall
                                  have their Equity Interests against the Debtor
   5          Equity Interests                                                                N/A                      0%
                                  extinguished as of the Effective Date and shall
                                  receive no Distributions under this Plan.



         2
           The amount identified is total approximate amount of Class 4 Claims. At the present time, it is impossible to determine the
amount of Class 4 Claims that will be Allowed. To the extent any Class 4 Claims become Disallowed Claims, the percentage Distributions
on Allowed Class 3 and Class 4 Claims will increase.


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               3.5.5 Time of Distributions. Except as otherwise provided for herein, ordered by the
Bankruptcy Court, or otherwise, Distributions under the Plan shall be made as soon as is reasonably
practicable on the later to occur of (a) the Effective Date, (b) the date a Claim becomes an Allowed
Claim, or (c) the date that cash becomes available for Distribution to a particular Class pursuant to the
treatment of such Class under the Plan.

       3.6     Funding and No Disbursing Agent.

               3.6.1 Plan Predicated Upon Liquidation of the Debtor’s Estate Assets and Net
Recoveries from Causes of Action, Preserved Claims, and Avoidance Actions. On the Effective Date,
the Debtor and its Estate shall irrevocably vest in the Liquidating Debtor for purposes of administration,
by the Plan Administrator, of all of its respective rights, title, and interest in and to all Revested Assets,
and in accordance with section 1141 of the Bankruptcy Code. For the avoidance of doubt, the Revested
Assets include Causes of Action, Avoidance Actions and Preserved Claims. Except as specifically
provided in the Plan or the Confirmation Order, the Estate Assets shall automatically vest in the
Liquidating Debtor free and clear of all Claims, Liens, encumbrances, or interests, and such vesting shall
be exempt from any stamp, real estate transfer, other transfer, mortgage reporting, sales, use, or other
similar tax. The Plan Administrator shall be the exclusive representative of the Estate appointed
pursuant to section 1123(b)(3)(B) of the Bankruptcy Code regarding all Revested Assets.

On the Effective Date, the Plan Administrator shall establish the Claims Reserve for the benefit of
holders of Class 3 and Class 4 Creditors whose Claims are Allowed. The Claims Reserve shall vest in
the Plan Administrator and shall be maintained by the Plan Administrator in accordance with the Plan.
Any recovery from Causes of Action, Avoidance Actions or Preserved Claims will be included in the
Claims Reserve.

              3.6.2 No Separate Disbursing Agent. The Plan Administrator shall serve as the
disbursing agent for all Allowed Claims under the Plan.

       3.7     Executory Contracts and Unexpired Leases.

               3.7.1 Assumption/Rejection. The Debtor does not assume any executory contracts or
unexpired leases still in effect on the Effective Date of the Plan. On the Effective Date, the Debtor’s
executory contracts and unexpired leases not previously rejected will be conclusively deemed rejected.
The Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejections,
pursuant to section 365 of the Bankruptcy Code.

               3.7.2 Rejection Damages Bar Date. If the rejection by the Debtor, pursuant to the Plan
or otherwise, of an executory contract or unexpired lease results in a Claim, then such Claim shall be
forever barred and shall not be enforceable against the Debtor, the Liquidating Debtor, the Plan
Administrator or the properties of any of them unless a proof of claim was filed with the Claims Agent
within the time allowed by the Bar Date (i.e., July 3, 2017) or the Bankruptcy Court’s applicable order
authorizing the Debtor to reject an executory contract or unexpired lease; provided, however, that
notwithstanding the foregoing, in the case of an executory contract or unexpired lease "deemed rejected"
pursuant to Section 6.2 of the Plan which results in a Claim, such Claim shall be forever barred and shall
not be enforceable against the Debtor, the Liquidating Debtor, the Plan Administrator, the Estate or the
properties of any of them unless a proof of claim is filed with the Claims Agent and served upon counsel
to the Plan Administrator within thirty (30) days after the Effective Date.

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       3.8     Modification of the Plan.

               3.8.1 Plan May Be Modified. The Debtor may alter, amend or modify the Plan or any
Exhibits thereto under section 1127(a) of the Bankruptcy Code at any time prior to the Confirmation
Hearing. After the Confirmation Date and prior to the Effective Date, the Debtor may, under section
1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to remedy any defect or
omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation
Order, and such matters as may be necessary to carry out the purposes and effects of the Plan, so long as
such proceedings do not materially adversely affect the treatment of Claimholders or Interestholders
under the Plan; provided, however, that prior notice of such proceedings shall be served in accordance
with the Bankruptcy Rules or order of the Bankruptcy Court. From and after the Effective Date and prior
to substantial consummation of the Plan (as defined in section 1101(2) of the Bankruptcy Code), the
Plan Administrator may seek non-material modification or amendment of the Plan pursuant to Section
13.2 of the Plan.

       3.9     Plan Controls.

               3.9.1 Plan Provisions Control. In the event and to the extent that any provision of the
Plan is inconsistent with the provisions of this Disclosure Statement or any other agreement or
instrument required or contemplated to be executed by the Debtor or the Plan Administrator, the
provisions of the Plan will control.

       3.10    Binding Effect.

               3.10.1 Provisions of Plan are Binding. The provisions of the Plan and the Confirmation
Order are binding and will inure to the benefit of the holders of Claims against, and Equity Interests in,
the Debtor and its respective successors, assigns, heirs and personal representatives, whether or not such
persons voted to accept or reject the Plan.

       3.11    Procedures for Resolving Disputed Claims and Equity Interests.

               3.11.1 Objections to Claims. Subsequent to Confirmation, the Plan Administrator will
have the right to object to the allowance of any Claim. Such objections, if any, will be filed with the
Bankruptcy Court no later than the first Business Day that is 180 calendar days after the Effective Date.
For the avoidance of doubt, the Claim Objection Deadline may be extended one or more times by the
Bankruptcy Court.

                3.11.2 No Distributions Pending Allowance. Except as otherwise set forth in the Plan,
no payments or Distributions will be made with respect to all or any portion of a Disputed Claim unless
and until all objections to such Disputed Claim have been settled or withdrawn or have been determined
by a Final Order, and the Disputed Claim has become an Allowed Claim.

              3.11.3 Compromises and Settlements. Pursuant to Bankruptcy Rule 9019(a), the Debtor
may compromise and settle various (a) Claims against it, and (b) claims that Debtor may have against
other Persons. The Debtor expressly reserves the right (with Bankruptcy Court approval, following
appropriate notice and opportunity for a hearing) to compromise and settle, up to and including the
Effective Date, Claims against the Debtor and claims that the Debtor may have against other Persons.



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After the Effective Date, such right will pass exclusively to the Plan Administrator to which such claims
will be conveyed pursuant to the Plan.

               3.11.4 Post-Confirmation Advisory Committee. Within ten (10) days after entry of the
Confirmation Order, the Debtor, in consultation with the Creditors’ Committee, will establish a Post-
Confirmation Advisory Committee consisting of three (3) unsecured creditor representatives that are
willing to serve in an advisory capacity to the Plan Administrator. The Post-Confirmation Advisory
Committee members will agree to serve free of charge and may retain counsel at their own cost which
shall not be passed along to the Debtor’s Estate. The Plan Administrator will provide a quarterly report
to the Post-Confirmation Advisory Committee and will consult and receive the majority approval of the
Post-Confirmation Advisory Committee members of any compromise or settlement where the amount of
such Disputed Claim or Cause of Action exceeds $250,000, subject to Bankruptcy Court approval if the
compromise or settlement is not approved by a majority of the Post-Confirmation Advisory Committee.

                3.11.5 Payments and Distributions with Respect to Classes 3 and 4; Claims Reserve.
On the Effective Date, the Plan Administrator shall establish the Claims Reserve. The Claims Reserve
shall vest in the Plan Administrator and shall be maintained by the Plan Administrator in accordance
with the Plan. Any recovery from Causes of Action, Avoidance Actions or Preserved Claims will be
included in the Claims Reserve.

The Plan Administrator shall hold the Claims Reserve for the benefit of holders of Class 3 and Class 4
Creditors whose Claims are Allowed and for the benefit of other parties entitled thereto under the Plan.
The amount of the Claims Reserve will be equal to the funds held in the Debtor in Possession account as
of the Effective Date, less the amounts on reserve for Plan Administration Expenses, Allowed
Administrative Claims as set forth in Article IV of the Plan (including Professional Fee Claims,
Administrative Tax Claims and Priority Tax Claims) and Allowed Class 2 Claims multiplied by the
percentage that represents the Face Amount of Class 4 Claims compared to the Face Amount of Claims
in Classes 3 and 4. Upon the allowance of any Class 4 Claims a Distribution on said Claims will be
made from the Claims Reserve equal to the percentage Pro Rata distribution received by Class 3 Claims
as a result of the First Interim Distribution. Allowed Claims in Class 3 and Class 4 shall be paid Pro
Rata based on the aggregate Face Amount of all Allowed Claims in both classes.

       3.12    Retention of Claims Belonging to the Debtor.

               3.12.1 Causes of Action, Preserved Claims and Avoidance Actions. Except as
previously waived or released, all Causes of Action, Preserved Claims, and Avoidance Actions are
preserved and retained for enforcement exclusively by the Plan Administrator subsequent to the
Effective Date.

       3.13    Tax Consequences.

               3.13.1 In General. The Federal income tax consequences of the Plan to a Creditor or
Interestholder will depend upon a number of factors and can be complex. In general, a Creditor that
receives cash in satisfaction of its Allowed Claim will generally receive a gain or loss with respect to the
principal amount of the Allowed Claim equal to the difference between: (i) the Creditor’s basis in the
Claim (other than any Claim in respect to accrued interest); and (ii) the balance of the cash received after
any allocation to the accrued interest. The Debtor has not determined the character of any gain or loss to
be recognized by an Interest Holder with respect to any distribution, if any, such Interestholder may

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receive under the Plan. FOR THE FOREGOING REASONS, HOLDERS OF CLAIMS AND
HOLDERS OF EQUITY INTERESTS ARE ADVISED TO CONSULT WITH THEIR OWN TAX
ADVISORS AS TO THE SPECIFIC TAX CONSEQUENCES (FOREIGN, FEDERAL, STATE AND
LOCAL) OF THE PLAN. THE DEBTOR IS NOT MAKING ANY REPRESENTATION
REGARDING THE PARTICULAR TAX CONSEQUENCES OF THE CONFIRMATION AND
CONSUMMATION OF THE PLAN AS TO ANY CREDITOR OR INTERESTHOLDER, NOR IS
THE DEBTOR RENDERING ANY FORM OF LEGAL OPINION AS TO SUCH TAX
CONSEQUENCES. CREDITORS AND INTERESTHOLDERS ARE URGED TO CONSULT THEIR
OWN TAX ADVISORS WITH RESPECT TO THE TREATMENT OF DISTRIBUTIONS MADE
UNDER THE PLAN.

4.     POST-CONFIRMATION ISSUES

     4.1     Role of Creditors’ Committee. From and after the Effective Date, the Creditors’
Committee shall not exist, except in accordance with Section 14.3 of the Plan.

       4.2     Employment of Counsel and Fees.

                4.2.1 Employment of Professionals After Confirmation. All professionals employed
by the Debtor and the Creditors’ Committee during the pendency of the Chapter 11 case shall continue
to be employed, and will be entitled to compensation as holders of Administrative Claims for their
services prior to the Effective Date. Upon the occurrence of the Effective Date, the Plan Administrator
shall be deemed a judicial substitute for the Debtor and shall be empowered to retain and/or employ
professionals.

       4.3     Exculpation and Limitation of Liability; Releases; and Injunction.

                4.3.1 Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
Distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute
(a) a good faith compromise of all Claims, Equity Interests, and controversies relating to the contractual,
legal and subordination rights that a holder of a Claim may have with respect to any Allowed Claim or
any Distribution to be made on account of such Allowed Claim with the effective date of the
compromise of any Claim being the date of the final Distribution on the same, and (b) a good faith
compromise of all Claims and Causes of Action the Debtor, Creditors’ Committee or any Person that
could bring such Cause of Action on their behalf against the Released Parties. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of
all such Claims, Equity Interests and controversies, as well as a finding by the Bankruptcy Court that
such compromise or settlement is in the best interest of the Debtor, its Estate and holders, and is fair,
equitable and reasonable. In accordance with the provisions of the Plan, pursuant to section 363 of the
Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action, order or
approval of the Bankruptcy Court, after the Effective Date, the Plan Administrator may compromise and
settle Claims against the Debtor and Causes of Action against other Persons including Statutory Insiders,
subject to the provisions of Sections 8.2 and 10.2 of the Plan requiring majority agreement of the Post-
Confirmation Advisory Committee for settlement or compromise of any Disputed Claim or Cause of
Action where the amount exceeds $250,000, if said committee can be formed, and subject to Bankruptcy
Court approval if the compromise or settlement is not approved by a majority of the Post-Confirmation
Advisory Committee.

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                4.3.2 Release of Liens. Except as otherwise provided in the Plan or in any contract,
instrument, release or other agreement or document created pursuant to the Plan, on the Effective Date
and concurrently with the applicable Distributions made pursuant to the Plan, all liens, pledges, or other
security interests against any property of the Estate shall be fully released, and all of the right, title and
interest of any holder of such lien, pledges or other security interest shall revert to the Estate and its
successors and assigns.

          4.3.3 Releases by Holders. OTHER THAN AS TO THE RIGHTS AND
LIABILITIES PROVIDED FOR IN THE PLAN, AS OF THE EFFECTIVE DATE OF THE
PLAN, EACH AND ALL OF THE RELEASING PARTIES SHALL BE DEEMED TO
CONCLUSIVELY, ABSOLUTELY, EXPRESSLY, UNCONDITIONALLY, IRREVOCABLY,
GENERALLY AND INDIVIDUALLY AND COLLECTIVELY, RELEASE, AND ACQUITTED
EACH AND ALL OF THE RELEASED PARTIES AND THEIR RESPECTIVE PROPERTY
FROM ANY AND ALL ACTIONS, CLAIMS, EQUITY INTERESTS, OBLIGATIONS,
RIGHTS, SUITS, DAMAGES, CAUSES OF ACTION, REMEDIES AND LIABILITIES
WHATSOEVER, INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE
AGAINST OR ON BEHALF OF ANY OR ALL OF THE RELEASED PARTIES, WHETHER
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, MATURED OR UNMATURED,
EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY, CONTRACT, TORT OR
OTHERWISE, BY STATUTE OR OTHERWISE, THAT SUCH RELEASING PARTY
(WHETHER INDIVIDUALLY OR COLLECTIVELY) EVER HAD, NOW HAS OR
HEREAFTER CAN, SHALL OR MAY HAVE, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTOR, THE DEBTOR’S
LIQUIDATION, THE CHAPTER 11 CASE, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT IS
TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
BETWEEN THE DEBTOR AND ANY RELEASED PARTY, THE RESTRUCTURING OF
CLAIMS AND INTERESTS BEFORE OR DURING THE CHAPTER 11 CASE, INCLUDING
THE NEGOTIATION, FORMULATION, PREPARATION OR PERFORMANCE OF THE
STORE CLOSING SALES, THE IP ASSET SALES, THE PLAN, THE DISCLOSURE
STATEMENT, OR RELATED AGREEMENTS, INSTRUMENTS OR OTHER DOCUMENTS
OR ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT OR OTHER
OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE OF THE PLAN
RELATING TO THE DEBTOR OR THE DEBTOR’S ESTATES, EXCEPT FOR ANY CLAIMS
AND CAUSES OF ACTION FOR ACTUAL FRAUD, WILLFUL MISCONDUCT OR GROSS
NEGLIGENCE. THE EFFECTIVE DATE OF SUCH RELEASE AS TO ANY CLAIM
SHALL BE THE DATE OF THE FINAL DISTRIBUTION ON THE CLAIM. FOR THE
AVOIDANCE OF DOUBT, THE DEBTOR IS NOT A “RELEASING PARTY” AND IS NOT
RELEASING ANY CLAIMS AGAINST THIRD PARTIES OR THE STATUTORY
INSIDERS.

              4.3.4 Liabilities to, and Rights of, Governmental Units. Nothing in the Plan or
Confirmation Order shall release, or preclude: (1) any liability to a Governmental Unit that is not a
Claim; (2) any Claim of a Governmental Unit arising on or after the Effective Date; (3) any liability to
a Governmental Unit on the part of any Person or Entity other than the Debtor or Plan Administrator;
(4) any valid right of setoff or recoupment by a Governmental Unit; or (5) any criminal liability.
Nothing in the Plan or Confirmation Order shall enjoin or otherwise bar any Governmental Unit

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from asserting or enforcing, outside the Bankruptcy Court, any liability described in the preceding
sentence. The injunction provisions contained in the Plan and Confirmation Order are not intended
and shall not be construed to bar any Governmental Unit from, after the Effective Date, pursuing
any police or regulatory action.

          4.3.5 Exculpation. EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN
THE PLAN, NO EXCULPATED PARTY SHALL HAVE OR INCUR, AND EACH
EXCULPATED PARTY IS HEREBY RELEASED AND EXCULPATED FROM ANY
EXCULPATED CLAIM, OBLIGATION, CAUSE OF ACTION OR LIABILITY FOR ANY
EXCULPATED CLAIM, EXCEPT FOR FRAUD, GROSS NEGLIGENCE OR WILLFUL
MISCONDUCT, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO
RAISE ANY AFFIRMATIVE DEFENSES, INCLUDING REASONABLE RELIANCE UPON
THE ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES PURSUANT TO THE PLAN. THE DEBTOR (AND ITS RESPECTIVE
AFFILIATES, AGENTS, DIRECTORS, OFFICERS, EMPLOYEES, ADVISORS AND
ATTORNEYS) HAVE PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH
THE APPLICABLE LAWS AND PROVISIONS OF THE BANKRUPTCY CODE WITH
REGARD TO THE SOLICITATION OF VOTES AND TRANSFER OF DEBTOR’S ESTATE
ASSETS PURSUANT TO THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT
OF SUCH TRANSFER SHALL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF
ANY APPLICABLE LAW, RULE OR REGULATION GOVERNING THE SOLICITATION OF
ACCEPTANCES OR REJECTIONS OF THE PLAN OR THE TRANSFER OF ESTATE
ASSETS PURSUANT TO THE PLAN.

           4.3.6 Injunction. FROM AND AFTER THE EFFECTIVE DATE, EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR RELATED DOCUMENTS, ALL
ENTITIES ARE PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN
ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE RELEASED PURSUANT
TO THE PLAN OR THE CONFIRMATION ORDER. EXCEPT AS OTHERWISE EXPRESSLY
PROVIDED IN THE PLAN OR RELATED DOCUMENTS, OR IN OBLIGATIONS ISSUED
PURSUANT TO THE PLAN, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS OR EQUITY INTERESTS THAT HAVE BEEN RELEASED PURSUANT TO
SECTION 10.4 OF THE PLAN, OR ARE SUBJECT TO EXCULPATION PURSUANT TO
SECTION 10.6 OF THE PLAN ARE PERMANENTLY ENJOINED, FROM AND AFTER THE
EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS: (1)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING, ATTACHING,
COLLECTING OR RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,
AWARD, DECREE OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (3)
CREATING, PERFECTING OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH ENTITIES OR THE PROPERTY OR ESTATE OF SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS
OR INTERESTS; (4) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES
OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN


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CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS
UNLESS SUCH HOLDER HAS FILED A MOTION REQUESTING THE RIGHT TO
PERFORM SUCH SETOFF ON OR BEFORE THE EFFECTIVE DATE, AND
NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR OTHERWISE
THAT SUCH HOLDER ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF
SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND (5) COMMENCING
OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EQUITY INTERESTS RELEASED OR SETTLED PURSUANT TO THE PLAN.

          4.3.7 FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF
THE RELEASE AND EXCULPATION GRANTED IN ARTICLE X OF THE PLAN, THE
DEBTOR AND HOLDERS OF CLAIMS OR EQUITY INTERESTS SHALL BE
PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN ANY MANNER
AGAINST THE RELEASED PARTIES AND THE EXCULPATED PARTIES AND THEIR
ASSETS AND PROPERTIES, AS THE CASE MAY BE, ANY SUIT, ACTION OR OTHER
PROCEEDING, ON ACCOUNT OF OR RESPECTING ANY CLAIM, DEMAND, LIABILITY,
OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, INTEREST OR REMEDY RELEASED
OR TO BE RELEASED PURSUANT TO ARTICLE X OF THE PLAN.

          4.3.8 THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF
ALL CLAIMS OR EQUITY INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND IN
COMPLETE SATISFACTION OF CLAIMS OR EQUITY INTERESTS OF ANY NATURE
WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND AFTER
THE PETITION DATE, AGAINST THE DEBTOR OR ANY OF ITS ASSETS, OR ESTATE
ASSETS. ON THE EFFECTIVE DATE, ALL SUCH CLAIMS AGAINST THE DEBTOR
SHALL BE FULLY RELEASED AND THE EQUITY INTERESTS SHALL BE CANCELLED.
THE EFFECTIVE DATE OF SUCH SATISFACTION AS TO ANY CLAIM SHALL BE THE
DATE OF THE FINAL DISTRIBUTION ON THE CLAIM

          4.3.9 EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR HEREIN OR
IN OBLIGATIONS ISSUED PURSUANT HERETO FROM AND AFTER THE EFFECTIVE
DATE, ALL CLAIMS SHALL BE FULLY RELEASED, AND THE INTERESTS SHALL BE
CANCELLED, AND THE DEBTOR’S LIABILITY WITH RESPECT THERETO SHALL BE
EXTINGUISHED COMPLETELY, INCLUDING ANY LIABILITY OF THE KIND SPECIFIED
UNDER SECTION 502(G) OF THE BANKRUPTCY CODE. THE EFFECTIVE DATE OF
SUCH RELEASE AS TO ANY CLAIM SHALL BE THE DATE OF THE FINAL
DISTRIBUTION ON THE CLAIM

         4.3.10 ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST
THE DEBTOR, THE DEBTOR’S ESTATE, THE CREDITORS’ COMMITTEE THE PLAN
ADMINISTRATOR, EACH OF THEIR RESPECTIVE SUCCESSORS AND ASSIGNS AND
EACH OF THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR INTERESTS
BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR OMISSION,
TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE THAT OCCURRED
BEFORE THE EFFECTIVE DATE. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, ON OR AFTER THE EFFECTIVE DATE, EXCEPT AS OTHERWISE
PROVIDED HEREIN OR IN A PRIOR ORDER OF THE BANKRUPTCY COURT, A CLAIM

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MAY NOT BE FILED OR AMENDED WITHOUT THE PRIOR AUTHORIZATION OF THE
BANKRUPTCY COURT OR THE CONSENT OF THE PLAN ADMINISTRATOR. ABSENT
SUCH AUTHORIZATION OR CONSENT, ANY NEW OR AMENDED CLAIM FILED SHALL
BE DEEMED DISALLOWED IN FULL AND EXPUNGED WITHOUT FURTHER ORDER OF
THE BANKRUPTCY COURT.

              4.3.11 Term of Injunctions or Stays. Unless otherwise provided in the Plan or in the
Confirmation Order, all injunctions or stays in effect in the Chapter 11 case pursuant to sections 105 or
362 of the Bankruptcy Code or any order of the Bankruptcy Court, and extant on the Confirmation Date
(excluding any injunctions or stays contained in the Plan or the Confirmation Order), shall remain in full
force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

                 4.3.12 No Liability for Solicitation or Participation. As specified in section 1125(e) of
the Bankruptcy Code, Persons that solicit acceptances or rejections of this Plan, in good faith and in
compliance with the applicable provisions of the Bankruptcy Code are not liable, on account of such
solicitation or participation, for violation of any applicable law, rule, or regulation governing the
solicitation of acceptances or rejections of this Plan or the offer, issuance, sale or purchase of securities.

5.     FEASIBILITY

       5.1     Financial Feasibility Analysis.

              5.1.1 Bankruptcy Code Standard. The Bankruptcy Code requires that, in order to
confirm the Plan, the Bankruptcy Court must find that Confirmation of the Plan is not likely to be
followed by the liquidation or the need for further financial reorganization of the Debtor unless
contemplated by the Plan.

               5.1.2 No Need for Further Reorganization of Debtor. The Plan provides for the
liquidation of all of the Debtor’s Revested Assets. Accordingly, the Debtor believes that all Plan
obligations will be satisfied without the need for further reorganization of the Debtor.

6.     ALTERNATIVES TO PLAN

       6.1     Chapter 7 Liquidation.

               6.1.1 Bankruptcy Code Standard. Notwithstanding acceptance of the Plan by the
requisite number of Creditors and Interestholders of any Class, the Bankruptcy Court must still
independently determine that the Plan provides each member of each Impaired Class of Claims and
Equity Interests a recovery that has a value at least equal to the value of the distribution that each such
Person would receive if the Debtor was liquidated under Chapter 7 of the Bankruptcy Code on the
Effective Date.

               6.1.2 Plan is in Best Interest of Creditors. The Debtor believes that the Plan satisfies
this standard because the Plan provides for an orderly liquidation of the Revested Assets. Furthermore,
the Debtor believes that the Plan also provides Creditors with a degree of certainty that would not exist
if the Revested Assets were subject to liquidation outside of the Plan and eliminates the risks and
expenses of the marketplace and continual administration of the Debtor. In this regard, in the event of a


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liquidation under Chapter 7, some administrative expenses may go unpaid, general unsecured creditors
would likely receive a lesser distribution, and the following is likely to occur:

                       1.      Additional administrative expenses, including trustee’s commissions, fees
for trustee’s accountant, attorneys and other professionals likely to be retained, would be incurred with
priority over general unsecured claims under section 507(a)(1) of the Bankruptcy Code and would
materially reduce Creditor recovery.

                      2.     Distributions would likely be substantially delayed, while expenses of
administration would continue to grow.

        It is the Debtor’s belief that in a Chapter 7 liquidation of the Debtor, the unsecured Creditors
would not receive a distribution or would receive less of a distribution. Accordingly, the Debtor believes
that the Plan is in the best interests of Creditors. See Chapter 7 Liquidation Comparison attached hereto
as Exhibit A.

       6.2     Risk Factors.

                6.2.1 There can be no assurance by the Debtor that any remaining liquidation proceeds
will be generated from the liquidation of the Debtor’s Revested Assets. Even in the event of the
liquidation of the Debtor’s remaining Revested Assets, there can be no assurance by the Debtor that
such sale or sales or prosecution of Causes of Action will generate additional proceeds for distribution to
the holders of Allowed Claims.

                6.2.2 There can be no assurance at this time of the number or amount of Claims that
will ultimately be Allowed, and thus the projected recoveries disclosed in this Disclosure Statement are
highly speculative. A large amount of Allowed Claims may materially and adversely affect, among other
things, the recoveries to holders of Allowed Claims under the Plan.

               6.2.3 Any valuation of any of the assets to be distributed under the Plan is necessarily
speculative, and the value of such assets could potentially be zero. Accordingly, the ultimate value, if
any, of these assets could materially affect, among other things, recoveries to the Debtor’s creditors,
including Claimholders in the voting classes.

               6.2.4 Although the Debtor has made commercially reasonable efforts to disclose
projected recoveries in this Disclosure Statement, it is possible that the amount of Allowed Claims will
be materially higher than any range of possible Allowed Claims the Debtor has considered to date, and
thus creditor recoveries could be materially reduced or eliminated. In addition, the timing of actual
Distributions to holders of Allowed Claims may be affected by many factors that cannot be predicted.
Therefore the Debtor cannot guarantee the timing of any recover on an Allowed Claim.

               6.2.5 As discussed in this Disclosure Statement, there are material income tax
considerations, risks and uncertainties associated with consummation of the Plan. Claimholders and
Equity Interest holders should carefully read the discussion set forth in Section 3.13 of this Disclosure
Statement and consult with their own tax advisors to determine any tax implications of the Plan to such
holders.




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       6.3    Recommendations.

                 6.3.1 It is the position of the Debtor that the Plan is substantially preferable to a
liquidation under Chapter 7 of the Bankruptcy Code. Conversion of this Chapter 11 case would result in:
(i) substantial delays in the distribution of any proceeds (if any) available under such alternative;
(ii) increased uncertainty as to whether payments would be made to unsecured Creditors; and
(iii) substantially increased administrative costs.

        THE DEBTOR RECOMMENDS THAT YOU VOTE IN FAVOR OF THE PLAN.

7.     CONCLUSION

       It is important that you exercise your right to vote on the Plan. It is the Debtor’s belief and
recommendation that the Plan fairly and equitably provides for the treatment of all Claims against the
Debtor and is substantially preferable to a liquidation under Chapter 7 of the Bankruptcy Code.




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                                                          Exhibit A

                                            Chapter 7 Liquidation Comparison

            As of 03/03/18                                                        Chapter 11             Chapter 7
            Forecasted Cash Available for Distribution
                Cash & Equivalents                                            $      7,463,225.59   $      7,463.225.59
                Release of BCBS Deposits                                      $         85,300.60   $         85,300.60

            Forecasted Recovery for Causes of Action                          $      1,500,000.00    $      1,500,000.00
                                              TOTAL CASH & RECEIPTS           $      9,048,526.19   $      9,048,526.19

            Forecasted Administrative Expenses through Plan Effective Date
                Administrative Expenses (non-professional - Claims Agent)     $       (70,000.00)   $        (70,000.00)
                Administrative Expenses (professional)                        $      (428,000.00)   $       (428,000.00)
                Priority Tax Claims                                           $       (30,000.00)   $        (30,000.00)
                Administrative Tax Claims                                     $            (0.00)   $             (0.00)
                Administrative Non-Tax Claims                                 $      (260,000.00)   $       (260,000.00)

            Forecasted Outstanding from/after Plan Effective Date
                Plan Administrator                                            $      (100,000.00)
                Attorney and other professional fees for Plan Administrator   $      (150,000.00)
                                                                 SUBTOTAL     $      8,010,526.19   $      8,260,526.19

            Incremental Chapter 7 Fees & Costs
                Trustee Fee % (3% of all Cash Distributed)                    $                -    $        271,455.79
                Attorney and Other Professional Fees                          $                -    $        150,000.00
                  TOTAL INCREMENTAL CHAPTER 7 FEES & COSTS                    $                -    $        421,455.79
                      COMPARISON OF CHAPTER 11 VS. CHAPTER 7
                  AVAILABLE FUNDS FOR UNSECURED CREDITORS                     $      8,010,526.19   $      7,839,070.40




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